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                                                                                 Siemens Industries, inc,

  SIEMENS                                                                        20 Murray Hill Pkwy
                                                                                 Suite 140
                                                                                 East Rutherford, NJ, 07073

                                                                                Phone: 831-603^124
                                                                                Fax:   631-874-1066
                                                                                Email: nlcholae.boncoretgstemens.com

                                                                                   Proposal #           NB122612A
TO: Hi Tech Pharmacal                                                              Date:                12/26/12
    369 Bayvlcw Ave>                                                               Reference:           PW 400 redundant system
    Amityville, NY 11701                                                           Terme:               Net 30
Attn: John Larosaa                                                                 FOB:                 PPD/ADD Point of Origin
Phone: 631-789-822S cxt.4169                                                       Price Firm           60 days
B-mail: jlaroaaa@hltechpharm.com
                                                                                   Shipment Date:       11-13 weeks after order
                                                                                                        acce planes
                                                                                   Sales Rep,           Nicholas Boncore

Hello John,
Thank you very much for your inquiry regarding the EPV SO to provide USP water in parallel with existing PW400 USP water system.
EPVW System Benefits:
         * Fast delivery with pre-manufactured systems
         * Easy'installation / skid mounted systems
         * UL Listed and Seismic Zone 4 compliant
         " Variety of piping selections
         ‘ Optional Factory Acceptance Test
         * USP Purified Water

Siemens Water Techno logics has developed a comprehensive water system product line tailored to clients requiring validation level
documentation. The Economical, Prc-Pf.okaged, Validate-afale (EPV) High Purity Water Systems offer a complete water system
package that meets the Bio-Pharmaceutical marketplace. The EPV SDI Series designation refers to a factory assembled water
purification system. These systems utilize the Siemens Water Technologies S&P (Service & Products) organization to supply the
purification exchange technology. Each system will be comprised of a single skid mounted assembly including an integrated PLC
based control panel that allows safe operation of the system with water quality readout,

Mechanical Description:
A 3 id L Stainless Steel frame supports the systems’ major components. These frames arc configured to provide maximum support for
the EPV SDI Series system components while allowing access for maintenance and operation, The EPV SDI Series systems are
supplied as single skids. While all pre-treatment piping is schedule 80 PVC, the product plumbing ia offered in 316 Sanitary Stainless
Stool. Support brackets and convenience outlets tor TOC monitors will be included,

Electrical & Operational Description:
The main control panel for the EPV systems features an Allen Bradley Micro Loglx 1200 PLC, motor starter, control transformer,
power disconnect and assorted switches, indicators and ftise?. The enclosure is NBMA 4 steel construction and Is mounted to the skid
framework. All control interconnecting wiring is complete from the instrument? to the control enclosure.

The client provides a source of 480 VAC, 3 phase, power to the panel, A 500VA control transformer provide? 115 V power for the
Instrumentation, PLC, UV light, and convenience outlet, The control system is pre-wired and fimetlonaliy tested prior to shipping,


   Piping                           Rath 316L ISO Grit ID Non-Electropolished Tube with Topline 180 Grit ID
                                    Polish, 3 !6L weld and TC fitting or equal. TC Connections only (no threads or
                                    flaneesl                     _____ _______ ;____________
   Isolation Valves                 TopPlow sanitary diaphragm valvea or equal, 316SS, 180grit ID/OD on stainless
                                    systems, 84L3-U9-1E-13_____ __________________________
   Sample Valves                    Casselta or equal sanitary sample valves. 1TC14-1"


                                                                 1




                                                 Exhibit "A"
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                                                                                 Siemens Industries, Inc,

     SIEMENS                                                                     20 Murray HM Pkwy
                                                                                 Suite 140
                                                                                 East Rutherford, NJ, 07073

                                                                                 Phone: 031-603*6124
                                                                                 Fax;   631-874-10S6
                                                                                 Email: nlohalaa,boneore@8iemens.com
       Pressure Oaugo                  Ashcroft H2S‘1032S*'15L-XC4LLLJ- J 00#" or equal, 2” dial, SS, 0*100 PS1, TC
                                       will sanitary diaphragm; Factory calibration certificates_____________
       Resin Fines (RF) Filter         Single or Multi-Round 316L SS Steel housing code "O"
       RP Filter Cartridge             l Micron Roguard FCRO Series elements or equal
       Check Valve                     Sanitary SS B45MP-1,5M
       Pressure Switch                 Sanitary Ashcroft or equal
       Pump                            Grundfos, sanitary, 316SS, TC
      Conductivity Probe .             Thornton 243*203 Sanitary Probes with .10' Patch Cords
      Back Pressure Valve              Jensen ffPCtQRTHMJP Series 61S or equal
      Bacteria Dea trust UV            Aquafine Sanitary
      Pinal Filter (FF)                316L Sanitary SS Housing
      FF Filter Cartridge              Pall Corp FCVH 0.2-Micron Validated Filter Cartridge
      TOC DestTuctUV                   Aqualine Sanitary


    Documentation!

                  Operating and Maintenance Manual to include:
                    -        Piping and Instrumentation Diagram
                    -        Skid plan and elevation drawings
                    •        Electrical wiring schematic
                    •        Recommended Layout
                             System end component specifications
                    -        Installation instructions
                    ■        Start-up'iDStmcrions
                    •        Cleaning and ranitlzation procedures
                    -        Troubleshooting Guido
                    ■        Manufacturer's data sheets
                    -        Daily and weekly log sheets
                    -        Recommended spare parts
                    •        IQ Verification Data Sheets
                    »       OQ Verification Data Sheets
                    -        Note: Pricing far Validation Protocols/Exceution in shown in optional services.
                             Standard Operating Procedures
                             PTC program on CD-ROM


                                                   Equipment: EFV - SO
4
% EPV SO Equipment, Engineering and Base Documentation.......                   'liriAOAOMIliJtMJttO*   $123,290.00
                                                                                                                      /




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                                                                                                  Siemens Industries, Inc.

    SIEMENS                                                                                       20 Murray Hill Pkwy
                                                                                                  Suita 140
                                                                                                  East Rutherford. NJ, 07073

                                                                                                  Phone: 631-303-6124
                                                                                                  Fax:   631-474-1056
                                                                                                  Email: nlchole9.boncore@siemen3.com


                                                Project Management and Start-up Services:
        EiaMMaamnteot
   Siemens project manager will oversee equipment ordering, monitor production schedules, arrange delivery, supply
   relevant drawings, confirm site preparedness, schedule start-up and deliver start-up report and deliver turn over package.
        Staxt-Un
   This includes start-up of Siemens Industry supplied equipment, This includes verification that all the equipment and
   controls are in working order.
       Xsalamg
   This includes training of the customer’s operators on some theory of the Siemens Water Technologies supplied unit
   processes and the operation of each piece of equipment.
        Sanitization
   This includes sanitization of EPV skid and distribution loop.


rTTotal Price for PM/Startup/Training/Sanitization                                      < t i t                        ..$11,789.00   V
   Total Project........   A < » I < «* « • t
                                                                                                                       $135,079.00        fjj
                                                                                                                                                /:
                                                                                                                                                     Ik
                                                                           Optional Services:
                                                    VALIDATION PROTOCOLS AND EXECUTION

          Item #1            Wet FAT at our manufacturing site....                                                              $4,106.00

          Item #2            IQ/OQ Protocol document package (*),                                                               $5,066.00

          Item #3            IQ/OQ Execution by Siemens (**)                                                                     ,$8,266.00

          Item #4            PQ Protocol document package (**)..... .                                                            $6,133.00

          Item #5            PQ Execution by Siemens (***)                                                                     $17.600.00


          (*) - Siemens highly recommends the purchase of the Wet FAT If the IQ/OQ Protocol
          is purchased. The IQ/OQ Protocol can be purchased without the Wet FAT. however,
          for $5,866.00
          (**) - Requires purchase of IQ/OQ Protocol
          («'**)« Requires purchase of PQ Protocol
                                                   TOTAL VALIDATION PACKAGEt                                                   $41,171.00


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  SIEMENS
                                                                                Siemens Industries, Inc.
                                                                                20 Murray Hill Pkwy
                                                                                Suite 140
                                                                                East Rutherford, NJ, 07073

                                                                                Phone; 631-603-6124
                                                                                Fax:   631-874-105$
                                                                                Email; nicholas.baneere@sfemen9.eom


                                                  Super 30 Service Vessels
                                 (Initial set of vessels included in equipment pricing)
Super vessel rent and exchange pricing:
Catalog #             Description                          Exchange cost        Mo.nlbJ.v.rent
DICAR2800FNQ           Carbon 28 *                            $1,160.00               $300.00
DIMBBOOOCNP            Mixed Bed Deionizer, 30cf*             $1,050.00               $300,00
DIMB13000CNP           Mixed Bed Deionizer, 30cf*             $1,050.00               $300,00
DIMB13000CNP           Mixed Bed Deionizer, 30cf*             $.1,050.00              $300.00
 Estimated annua! running cost for Super Service Vessels:
 Our minimum exchange frequency is every 45 days for the mixed bed deionizer. A blanket order for service should be issued to
          include the following items;
 Catalog #_____             Description                      #. Exchanges       Unit Price      Total Price
DICAR28QQPNQ                Carbon 28 *                            2            $1,160.00                    $2,320.00
DIMB13000CNP                Mixed Bed Deiooizer, 30cP             52            $1,050.00                     $54,600.00
RENTAL                      Carbon / Mixed Bed Tank Rental        monthly         $1,200.00 S 14,400.00
Estimated Annual Total*.............. ...............          i «                                           $ 71,320.00
’•'Based on current city water quality (124 PPM TDS):




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SIEMEN                                                                           Siemens Industries, Inc.
                                                                                 20 Murray Hill Pkwy
                                                                                 Suite 140
                                                                                 East Rutherford, NJ. 07073

                                                                                 Phone: 631-603‘6124
                                                                                 Fax:   631-874.1056
Payment Terms and Delivery                                                       Email: nlcholas,boncor@@slemens.com
    a Equipment:
      (1) One PO for the equipment ($123,290,00), plus options, if chosen
      50% billed upon Acceptance of Purchase Order (contingent upon Siemens Industry, Inc, technical and contractua
     50% billed upon Equipment Sh poient.                                                                           l review),
     Net 30 Days.

      PM/Startnp/Training/Ssnittxation:
      (1) One PO for PM/Start-up/Training/Sanitization ($11,789.00).
      (2) Net 30 days after completion

    a Post-Commissioning Services;
      Monthly or event driven billing.
      Net 30 Days,

    * Ml prices within this proposal do not include any taxes, duties or shipping costs.
      Freight terms are ex works, point of manufacture, freight prepay and add.

     Estimated Equipment Delivery: 31-13 weeks after acceptance of purchase order (AAPO),


     Estimated Project Schedule (No Submittal Package)
     * Order Review and Acceptance: 1 - 2 weeks ARO (after receipt of order).
     « Ship Equipment: 11»13 weeks AAPO,
     • Start-Up and Acceptance: 1-2 weeks after complete installation,

     This proposal Is valid for 60 days from tire date of this proposal.


     PLACING AN ORDER
     To place an order, please submit your purchase order to:

    Siemens Industry, Inc.
    20 Murray Hill Parkway
    Suite 140
    East Rutherford, NJ 07073

    Please recognize thatPO acceptance may be delayed if previously un-reviewsd documents aropart of the
                                                                                                         PO, An example of
    such documents would be new Technical Specifications or Terms and Conditions,

    Siemens may at any time assign, transfer or subcontract this Agreement, in whole or In part, or rights and
                                                                                                               obligations
    thereunder to affiliates or third parties without the consent of Hitech Phatmacal. Upon such Assignment,
                                                                                                             Siemens shall be
    released from all assigned obligations.




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                                                                          Siemens Industfles, Ino,
       SIEMENS                                                            20 Murray Hill Pkwy
                                                                          Suite 140
                                                                          East Rutherford, NJ, 07073

                                                                          Phone:. 63'-603-ei24
                                                                          Fax:    $3'-874-1056
                                                                          Email: nlcholas.boncora@slsmens.com
  SV-.sleiILU.tHities-AQ.cl^Slte Assumptions
                                                                                  t-M
  Cold Influent Process Water                     Municipal Source Water
 Pressure Min / Mak                               607 80 psig
 Temperature Min; Max                             50/80 deg F
 Flow Rate Normal / Max                           40/50QPM
 Connection Available                             2” NPT connection cold water
 System Waste Water                               Heat and/or chemical sanitization
 Pressure Min / Max                               Gravity Floor Drain / 5 psig
 Temperature Min / Max                            55/ 180 dog F
 Flow Rate Normal / Max                           OGPM/IOGPM
 Connection Available                             2” or sufficient flow for above
 Other
 Ambient Air Temperature                           70 - 80 deg F
 Location / area Classification                   Indoor / Unelawiftad (non-hazardous)
 Wind i Seismic Zone                              Not Applicable / UBC Zone 2A
 Electrical Power                                 120 VAC, t Phase, 60 Hz
                                                  460 VAC, 3 Phase, 60 Hz



                                                                     By Others          By Siemens
 1       Development of Process @ Instrumentation                                           X
         Diagrams (P&ID) and General Arrangement drawing
         within 2 weeks of order acceptance.____________
 2       Submittals                                                                        N/A
 3       Equipment in accordance with proposal and above                                    X
         documentation . ______________
4        Installation supervision                                         X
5        Heavy equipment (forklift, manilft, crane, etc,..)               X
6        Equipment-Off Loading_____________                               X
7        Equipment Placement_____________________                         X
a       Ail plumbing utilities (Valved feedwater, floor drain)            X
        to be within 5’ (unobstructed) from the system
        connection points and sized per P&ID design
        pressure and flow.____________ ___________
9       Ail equipment interconnecting piping material & labor             x
10      Full load electrical power (with disconnect switches)             X
        and terminations at local panels and receptacles
11      All Interconnecting control wiring labor and materials            X
        between skids and components with the confines of
        the system________ .              _______
.1.2    Labor for loading filters, media, membranes, etc,,                                  X
13      Expendables such as chemicals, salt, etc., for initial                              X
        startup______________ -                             __
14      System startup           ______ _                                                   X
15      Complete startup data documents                                                     X

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   SIEMEN                                                                          Siemens Industries, Ine.
                                                                                   20 Murray Hill Pkwy
                                                                                   Suite 140
                                                                                   East Rutherford, NJ, 07073
                                                                                   Phone: 631-003-6124
                                                                                   Fax:   631-874-1056
                                                                                   Email: nleholas,boncQf6@siemens.com
  16        Operator training
                                                                                                    X
   17       Off-site and/or special analytical testing                              X
  16        Distribution Loop Installation                                          X
  19        System and loop sanitization                                                            X
  20        Initial distribution loop passivation______                             X
  21        Demolition and removal of existing equipment              .             X

        Standard Exclusions
      The following is a list of items not normally Included with our equipment or assembly and startup services.
      included if specifically stated otherwise in writing:                                                       They are only
      a Permits, building inspections, taxes or duties,
      » Indoor location for equipment with suitable heat, light and ventilation.
      » Civil or concrete work.
      * Core drilling or wall penetrations].
     » Floor drains, adequately sized and located.
     * Weekend or non-day shift work.
     * Union or licensed plumbing labor or labor subject to prevailing wage determinations.
     « Water main,
     » Back-flow prcventer(s),
     » Electrical load center(s).
     » Water heater(s),
    * insulation or heat tracing.
    * Gas lines.
    « Storage of equipment.
    e Demolition, disposal, or other work related to existing equipment,
    « Field labeling of components or piping.
    » Validation assistance or (IQ/OQ/PQ) services,
Software licenses for programming by others of any supplied PLC or HMI components



Please let me know if you have any questions, or need additional Information,
Best Regards,
Nick Boncore
Account Manager
Siemens Industries Inc,
20 Murray Hill Parkway - suite 140
East Rutherford, NJ 07073
Fax 201-531-9450
VM 201-531-9338 ext 537
Ceil 631-603-6124
email: nlchplaa,boticof6@slemens.corr)




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               SIEMENS                                                                                                     Siemens Industries, Inc.
                                                                                                                           20 Murray Hill Pkwy
                                                                                                                           Suite 140
                                                                                                                           East Rutherford, NJ, 07073

                                                                                          Phone: 631-003-6124
                                                                                          Fax:   $31-874-1056
                                                                                          Email: nidiolas-honcore^alemens.com
          1,
                                                   Siemens Industry, Inc. Standard Terms and Conditions
                    _______ __ thesa (arms govern Ihs purahoe        e ana sale of the aqulpmenl ('Eculpmont'), the leeae of any leaaed
                  and lha provision of any aervicaa (“Setvfcos'1) provided                                                                   eqvtpmont ("Loaoett Equlpmanf)
                  case may bs ('Seller's Ooeumentatten'1). Whelhef these ty    Sailor as rafemad to In Ssliar's quolatfon, proposal, specific
                                                                            terms  are included                                                ations or aohnowladQmenl, as tha
                  auoh offer or acceptance is conditioned an Buyer’s assent to these            In sn offer or an aooepianca by Slamsns Water Technol
                  documents.                                                               tsrms.   Seller (ejects all additional or different terms In anyogies Corp. pseiie(‘‘),
                                                                                                                                                             of Buyer's forma or
       2,          Eaxmant. Buyer shell pay Sellar the charges for Bqulpmem, Leased
                   Documentation expressly provides olhanvfse, freight, storage                     equipment and Services as sat !'orth in Sailer's Documentation. Unless
                                                                                                                                                                                           Saller'e
                   Leased equipment and Services shell bo paid by buyer, if ,Salter      Insurance and ell tasas, duties or Other governmental chartjGs              relating to the Equipment,
                   payments aro due iMthin thirty (30) days aSsr reeelpi of Invoice unless     Is required to pay any such chargee, Buyer shall Immediately                rdlmhur ea  Sellar,   All
                   month or ths maximum legal rate on all amounts not received by tho othervrisn quoted by Seder. Buyer ehall be charged the lower of t 'A% Jnteresl per
                  aolledlng amounts due but unpaid. All orders are subject                       due date and shall pay all of Seilers reasonable costa (Including attornsy
                                                                                to credit approval,                                                                                    e' fees)  of
      3,          Delivqiy ol Eoulorocnt. Leased Hqiilnment end Provision of Servloaa
                  with the schedule In Seiler's Oecumentaltav Unless Seller's Docume           . Delivery of (he Equipment and Leased Equipment shall be In matarin!
                  provide Services (n accordance with Iho Sellada Docume                          ntation provides otherwise, Delivery terms aro F.O.B. Sailer’s laclltty, compliance
                                                                                nietlon   during                                                                                      Seller shall
                  Services requested or required outside of fiiase hours will be charged normal business hours unless otharvriae specified In auoh Seller’s Documentation,
                  and will be In addition to the chargea outlined In the Seitef'a Docume          si Sailer's   then-cur  rent  schedul  e of  rates Including overtime charges, If applicable,
                  Documentation are requested (“Addilionei Services"), Seller shall provide     nietlon. To the extent additional services oulslde the           scope Itemized In ths Seilerte
                  and conditions unteas etherwfsa agreed in writing by Seller.                       Addition  al  Service s at  Its Ihen-cur rent standard  time and material rates and tarme
      4,         Qvmarahte .of Materials. Ait devices {olhet than Ihs Equipment), designs
                 dale and other documents or Information prepared cr disclosed by Seller,(Including drawings, plans end spadflcailorta), estimates, prices, notes, eleelronlo
                 grants Buyer a non-oxcluarve, non-transfereble lloenss to use any such and all related intellectual property rights, shell remain Sailer’a property, Seller
                 and provision of Services hereunder, Buyer shall                                material solely in conneollon wilh Buyer’s use of the EogrlpmonL Leased
                                                                      not disclose any such material to third parties without                                                        Equlpmani
                                                                                                                                         Solar’s prior written consent
     6.          Shaagss. Sailer shall net Implement any changes In iho scope describe
                 of the change and any rasulllng price, sohodule or oihor contractual d in Seller's Documantefion unless Buyer and Salter agree in writing to ihe details
                 occurring after the effective dele of any contract Including                modifications. This Includon any changes necessitated by a change
                                                                               Ihesa terms.                                                                                   In applicable law
  6,            SSfatjgfliy. Seller warranie to Buyer that ihe (i) Equipment and Leased
                shall be free from defects In material and workmanship end (II) Ssrvleaa        Equipment shell materially conform te lha description In Sellar's Docume
                gives Seller prompt written notice of breach of this warranty                      shall be performed In e workmanlko manner using qualified personn ntation end
                                                                                    (I) for Equipm                                                                                 el, If Buyer
                Equipment ot one (1) yeer from accaptemre, whichev occurs first endior ent: Within eighteen (Ifl) months from delivery of the Equipment, or Leased
                fWar/enly Period"), Seller shall, at Its sole option and er                           (!i) for Services: within ninety (£0) days from the date the service is
                                                                                                                                                                                      provided;
                perform any non-conforming portion of the Services as         Buyer's sole remedy, repslr or replace the subject Equipment and Leased
                                                                          or refund the charges paid lharelpr, If Seller determi                                      Equipment pane, or rs-
               coveted by this warranty, Buyer shall pay Seller its ihen                                                                        nes that any claimed breeah is not. In fact,
                                                                                 cuetomary chargee lor any repair, replacement re-performenoe
               warranty Is conditioned on Buyer's (a) oparetln
               making any unauthorized repairs or slteratfona,g end       maintaining the Equipment and Leased Equipment in or                                     made by Salter, Seller's
                                                                                                                                               accordanca with Seller's Instructions, (b) not
                                                                     and   (o)
               consumable ot expendable goods (such ee, for example and not by not   being   In  default    of any    paymen   t obligation to Seller. Sailer's warranty does not cover
               damage caused by chemical action et ebraetee materiel,                          way of Hmilstlon, acflveied carbon, filter cloth, pump           diaphragms and filters)
               THIS SECTION ARE SELLER'S SOLE AND EXCLUSIVE WARRANTIES,      misuse     or imprope    r Installat ion  (unlosa  installed by Seller), THE WARRANTIES SET FORTHend             IN
               IMPLIED, INCLUDING WITHOUT LIMITATION, ANY WARRANTY OF                                 SELLER       MAKES     NO    OTHER    WARRA     NTIES OF ANY KINO, EXPRESS OR
               ARE EXPRESSLY DISCLAIMED BY SStlER                                                MERCH      ANTAB    ILITY   OR    FITNES  S   FOR   PURPOSE, ALL OF WHICH HEREBY
 7,            Indemnify. Sellar shall Indemnify, defend and hold Buyer harmless from
               claims for parsonei injury, death or damage to tangible                        any claim, causa of action or llqblTty Incurred Buyer as a result
               (lie defense of end sattte any Indemnified claim. Seller'?property , to the extent caused by Seller's negligence. Seller shallbyhave                of ihlfd party                              !
                                                                          Indemni
               any claim, and (b) providing reasonable qooperallM |n the defense   fication Is conditioned on Buyer (a) promptly, within the WarrantyIhe sole authority to direct
                                                                                                                                                      Period, rmiifyfng Sellar of
                                                                                                                                                                                                               i
                                                                                      of any dalm.
A.    Ferae Maleura. Under no circumstances shall either Seller Buyer
      weather or other act of God, strike or other letter Bhortage orordisturba  have any ilablllly for any broach (exeep: for paymonl obligation?) caused
                                                                                                                                                                       by extreme
      of supply, change In law or oihor act of government or ony other causence, fire, accident, war or civil disturbance, delay of carriers, failure of normal sources
                                                                                   beyond euoh party's reasonable control,
9. fismfisilgtton. if Buyer cancat? or suspends its order for any
                                                                            reason other than Belief's breech, Buyer shell pay Sailer for work
     cancellation cr suspension and any other dlreci costs Incurred by Seller
                                                                                    as a result of such cancellation or suspension,                          performed prior to
10. Leased Eouiiupeqt. Any Leased Equipment provided by Sellar
     tasialtatinn materials purchased or provided by Buyer, end no right  shall at oil times remain the property of Seller wilh the exception of
    such Leased Equipment a? provided herein, Buyer agrees                     or property interest le transferred to the Buyer hereunder, exceptcertain          miscellaneous
                                                                                                                                                            ths right to use any
                                                                    lhai  It shell
    security Interest In, part wilh possession of, or relocate such Leased equipme  not, nor  shall   It allow a  third party, to pledge, lend, place Hen against or create s
    this Section 10, Buyet wilt ba responsible to maintain such Leased                    nt, Buyer agrees lhai II will Indemnliy Seller against abreache       s of (he terms of
    Agreement, Buyer shall promptly make any Leased Equlpmani availabl         Equipm    ent  In  good    and  efficient working  order. Upon expiration or termination of Ihls
    Leased Equipment location during and after the leim of any applicab           e  to Belter   for removal   ,  Buyer  hereby   agrees that it
    Equipment without resort to legal process end heresy release                   le Isese and shall permit seller to taka possessionshall           grant Seller acces? to Ihe
                                                                                                                                                  o( and remove such Leased
    entry and removsl,                                                   sellar from    any  claim   cr  right of  aeffon tor trespass  or damages caused by reason af such



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'     H
                                                                                                       Siemens Industries, !no.
      SIEMENS                                                                                          20 Murray HII Pkwy
                                                                                                       Suite 140
                                                                                                       East Ruiharforci, NJ, 07073
                                                                                                       Phone: 831-603-8124
                                                                                                       Fax;   631-874-1056
                                                                                                       Email: nicholas,honeore@slemef',£,«>m
    11. MtelanfiflUS. II Uia*? tprme ara Issued In connection iMth n government cont/sct, they afiBlI be deemed to Include those fedaml
        that are required by lew to be Included, These tame, together with the Seller's Ooeumenlallon, comprise the complete end exclusive        acquisition regulations
         egreamant between the pertlea (the "Agreement*) and euperaeda any terms contained In Buyer's documents, unless separately signed statement ot the
        ef the Agreement may be changed or canesllad except by a wrillen document signed by Seller and Buyer, No course o/ dealing or performance,     by Sellar, No part
        trade or failure lo enforce any lerm shell be used to modify the Agraament, If eny ol these terms                                                        usage ol
                                                                                                             Is unerforceeble, such term shell he limited only to the
        extent necaegary to maks It enforceable, and all other terms ehall remain In full force end effeoi, Buyer may not assign
        Agreement without Seller's prior Mitten Mnaant. This.Agreement shall be binding upen end Inure to the benefit oforSeller's      permit eny other uenafar of the
                                                                                                                                                affiliates end permitted
        successors and assigns. The Agtoament snail be governed by the laws of the state of Delaware without regard      to Its conflict of laws provisions.
    12. UfnllaliPn,pf,i.MM NCTWITHSTANDIN^ANYTHING ELSE to the contrary seller shall not be liable for any consequent
                                                                                                                                                                    ial,
        INCIDENTAL, SPECIAL, PUNITIVE OR O/WER INDIRECT DAMAGES, AND SELLER'S TOTAL
        USE OP THE EQUIPMENT. LEASED BDGlPMENT AND/OR SERVICES SHALL NOT EXCEEDLIABILITY                     THE
                                                                                                                     ARISING AT ANY TIME FROM THE SALE OR
        LIMITATIONS APPLY WHETHER THByABILltY IS BASED ON CONTRACT, TORT, STRICT LIABILITYPRICE                            PAID TO SELLER THEREFOR. THESE
                                                                                                                   OR ANY OTHER THEORY.
        Accepted by:__________ fx                ____________ •
                                              {Suynf}
        Print:
          tew: ___ ____________




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